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From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Sent: Monday, February 19, 2024 9:25 AM
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Robert Lynch <robert.lynch@buzko.legal>; Peter Bryce <peter.bryce@buzko.legal>
Subject: Re: BEEQB/Blockquarry Discussion

Taylor,

Following our call last week, please find the table with monthly electric consumption by BEEQB on the
Gaffney site, accompanied by
invoices: https://docs.google.com/spreadsheets/d/1flQus9kiw1q1i0eWJ7EmE-Rv6-
LmW2P4fWPz5n1d7Fs/edit?usp=sharing. The client should provide the access soon, if you have no
access by the time you get to it, kindly request one.


Best Regards,
Filipp




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Month                                March       April         May          June          July          August        September     October       November      December      Total
Rate $/KWh                                 0.065         0.065        0.065         0.065         0.065         0.065         0.065         0.068         0.068         0.068
Power consumption, kWh (approximately 340,028.31    673,846.15   673,846.15    635,342.00    633,959.69    667,177.08    696,961.69    701,940.74    315,447.11    392,425.78 5,730,974.71
Paid, usd                             $22,101.84   $43,800.00   $43,800.00   $41,297.23   $41,207.38   $43,366.51    $45,302.51    $47,381.00   $21,292.68 $26,488.74     $376,037.89
Invoice                            INVOICE 1158 INVOICE 1158 INVOICE 1158 INVOICE 1203 INVOICE 1237 INVOICE 1327 | August HOSTI INVOICE 1400 INVOICE 1418 INVOICE 1431 | January HOSTING POWER BILL.pdf




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Uptime Hosting LLC
12301 NW 112 Ave Unit 109
Medley, FL 33178 US



  BILL TO                                                                INVOICE 1158
  BEEQB LLC

                                                                         DATE 04/27/2022    TERMS Due on receipt


                                                                         DUE DATE 05/02/2022




  DATE        ACTIVITY               DESCRIPTION                                  QTY          RATE     AMOUNT

  03/16/2022 Monthly Hosting         March Power Consumption POD #1                 1      22,101.84   22,101.84
                                     - Gaffney, SC: activated March 16,
                                     2022
  04/01/2022 Monthly Hosting         April POD5IVE Activation - 1 MW                1      43,800.00   43,800.00
                                     Hosting POD #1 - Gaffney, SC
              Hosting Deposit        First Month Hosting Deposit, paid              1 -43,800.00       -43,800.00
                                     upon signing
  05/01/2022 Monthly Hosting         May Hosting - 1 MW Hosting POD                 1      43,800.00   43,800.00
                                     #1 - Gaffney, SC


 Zelle Instructions:
 uptimehostingpay@gmail.com

 Wire Transfer Instructions:
 Uptime Hosting LLC
 Chase Bank
 12301 NW 112 Suite 112, Medley, FL 33178
 Routing ABA: 267084131
 Account #: 760807906
 For international incoming wires, use SWIFT/BIC: CHASUS33


                                                              TOTAL DUE                           $65,901.84




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Uptime Hosting LLC
12301 NW 112 Ave Unit 109
Medley, FL 33178 US



  BILL TO                                                            INVOICE 1203
  BEEQB LLC

                                                                     DATE 06/13/2022    TERMS Due on receipt


                                                                     DUE DATE 06/17/2022




  DATE        ACTIVITY               DESCRIPTION                              QTY          RATE     AMOUNT

  06/01/2022 Monthly Hosting         June Hosting- 1 MW Hosting POD             1      41,297.23   41,297.23
                                     #1 - Gaffney, SC
              Security Deposit       Paid with Customer Deposit of              1 -41,297.23       -41,297.23
                                     $657,000


 Zelle Instructions:
 uptimehostingpay@gmail.com

 Wire Transfer Instructions:
 Uptime Hosting LLC
 Chase Bank
 12301 NW 112 Suite 112, Medley, FL 33178
 Routing ABA: 267084131
 Account #: 760807906
 For international incoming wires, use SWIFT/BIC: CHASUS33


                                                             TOTAL DUE                               $0.00




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Uptime Hosting LLC
12301 NW 112 Ave Unit 109
Medley, FL 33178 US



  BILL TO                                                            INVOICE 1237
  BEEQB LLC

                                                                     DATE 07/01/2022    TERMS Due on receipt


                                                                     DUE DATE 07/08/2022




  DATE        ACTIVITY               DESCRIPTION                              QTY          RATE     AMOUNT

  07/01/2022 Monthly Hosting         July Monthly Hosting                       1      41,207.38   41,207.38
              Security Deposit       Paid with Customer Deposit of              1 -41,207.38       -41,207.38
                                     $657,000


 Zelle Instructions:
 uptimehostingpay@gmail.com

 Wire Transfer Instructions:
 Uptime Hosting LLC
 Chase Bank
 12301 NW 112 Suite 112, Medley, FL 33178
 Routing ABA: 267084131
 Account #: 760807906
 For international incoming wires, use SWIFT/BIC: CHASUS33


                                                             TOTAL DUE                               $0.00




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Uptime Hosting LLC
12301 NW 112 Ave Unit 109
Medley, FL 33178 US



  BILL TO                                                             INVOICE 1327
  BEEQB LLC

                                                                      DATE 09/23/2022    TERMS Due on receipt


                                                                      DUE DATE 10/07/2022




  DATE        ACTIVITY               DESCRIPTION                               QTY          RATE     AMOUNT

  09/01/2022 Monthly Hosting         August Hosting: 573,631.12 kWh              1      43,366.51   43,366.51


 Zelle Instructions:
 uptimehostingpay@gmail.com

 Wire Transfer Instructions:
 Uptime Hosting LLC
 Chase Bank
 12301 NW 112 Suite 112, Medley, FL 33178
 Routing ABA: 267084131
 Account #: 760807906
 For international incoming wires, use SWIFT/BIC: CHASUS33


                                                             TOTAL DUE                         $43,366.51




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Uptime Hosting LLC
12301 NW 112 Ave Unit 109
Medley, FL 33178 US



  BILL TO                                                            INVOICE 1400
  BEEQB LLC

                                                                     DATE 11/16/2022    TERMS Due on receipt


                                                                     DUE DATE 11/16/2022




  DATE        ACTIVITY               DESCRIPTION                              QTY          RATE     AMOUNT

  10/01/2022 Monthly Hosting         October Monthly Hosting POD 1              1      47,381.00   47,381.00
                                     Gaffney, SC: 629,940.75 kWh +
                                     72,000 kWh for electrical
                                     consumption of POD equipment
              Hosting Deposit        Paid with remaing Customer deposit         1 -47,381.00       -47,381.00
                                     of $179,226.38


 Zelle Instructions:
 uptimehostingpay@gmail.com

 Wire Transfer Instructions:
 Uptime Hosting LLC
 Chase Bank
 12301 NW 112 Suite 112, Medley, FL 33178
 Routing ABA: 267084131
 Account #: 760807906
 For international incoming wires, use SWIFT/BIC: CHASUS33


                                                             TOTAL DUE                               $0.00




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Uptime Hosting LLC
12301 NW 112 Ave Unit 109
Medley, FL 33178 US



  BILL TO                                                             INVOICE 1418
  BEEQB LLC

                                                                      DATE 12/07/2022    TERMS Due on receipt


                                                                      DUE DATE 12/07/2022




  DATE        ACTIVITY                DESCRIPTION                              QTY          RATE     AMOUNT

  11/01/2022 Monthly Hosting          November Hosting                           1      21,292.68   21,292.68
              Prepaid Hosting monthly Paid with customer deposit of              1 -21,292.68       -21,292.68
                                      $131,845.38


 Zelle Instructions:
 uptimehostingpay@gmail.com

 Wire Transfer Instructions:
 Uptime Hosting LLC
 Chase Bank
 12301 NW 112 Suite 112, Medley, FL 33178
 Routing ABA: 267084131
 Account #: 760807906
 For international incoming wires, use SWIFT/BIC: CHASUS33


                                                               TOTAL DUE                              $0.00




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Uptime Hosting LLC
12301 NW 112 Ave Unit 109
Medley, FL 33178 US



  BILL TO                                                            INVOICE 1431
  BEEQB LLC

                                                                     DATE 01/06/2023    TERMS Due on receipt


                                                                     DUE DATE 01/11/2023




  DATE        ACTIVITY               DESCRIPTION                              QTY          RATE     AMOUNT

  11/28/2022 Monthly Hosting         November Hosting Pryor, OK:                1       7,334.54    7,334.54
                                     104,779.20 kWh
  12/01/2022 Monthly Hosting         December Hosting Gaffney, SC:              1      19,154.20   19,154.20
                                     283,765.91 kWh


 Zelle Instructions:
 uptimehostingpay@gmail.com

 Wire Transfer Instructions:
 Uptime Hosting LLC
 Chase Bank
 12301 NW 112 Suite 112, Medley, FL 33178
 Routing ABA: 267084131
 Account #: 760807906
 For international incoming wires, use SWIFT/BIC: CHASUS33


                                                             TOTAL DUE                        $26,488.74




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